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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI

DIRK ASKEW and BEULAH         )
ASKEW,                        )
                              )
           Plaintiffs,        )
                              )
       vs.                    )                      Case No. 4:12CV00152 HEA
                              )
THE UNITED STATES OF AMERICA, )
et al.                        )
                              )
           Defendants.        )

       JOINT PROPOSED AMENDED OPINION, MEMORANDUM AND ORDER

       This Joint Proposed Amended Opinion and Order corrects a mathematical error and

supersedes this Court’s Order dated May 27, 2016.

       This matter is before the Court on remand from the Eighth Circuit Court of Appeal. In

its May 26, 2015 Opinion, the Eighth Circuit ordered that this Court “first should specify what

amount of future economic damages are future medical damages, in accordance with §

538.215.1. Once that amount is specified, the court should determine what portion, if any, will

be paid in a lump sum, and what portion will be placed in a reversionary trust for periodic

payment to Askew.”

       The Court awarded $4,000,000 as future economic costs. From this, is deducted the

non-medical future income loss of $1,205,061, leaving $2,794,939. Proportionate attorney’s

fees in the amount of 25% (698,735), should be deducted from this amount, as well as one half of

the total trial costs expended, ($58,900), leaving $2,037,304 for future medical costs.

       Since the entry of the judgment, certain medical needs have been incurred: $37,403



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immediate first time expenses for assistive equipment, $53,000 wheelchair access van, $200,000

for home purchase and handicap adaptations, for a total to be deducted from the future medical

expenses of $290,403, leaving $1,746,901 to be placed into a reversionary trust for 28 years,

Plaintiff’s life expectancy at the time of trial. Thus, each year a total of $62,387 shall be paid

from the reversionary trust. Since two long years have passed since the entry of the judgment,

an additional lump sum of $124,774 shall be paid immediately, leaving $1,622,127 to be placed

into a reversionary trust, to be invested and/or held in such a way as to pay out in annual amounts

of $62,389 per year for the next 26 years, paid on the anniversary of the original judgment during

the month of November, with the first payment from the reversionary trust to commence on

November 1, 2016, to be disbursed and upon the death of Plaintiff Dirk Askew, the remainder to

revert to the United States Treasury.

       The parties are to agree on a Trustee without further order of this Court and shall submit

to this Court an agreed upon Trustee by Wednesday, June 8, 2016.

       Dated this 3rd day of June 2016.

                              So Ordered:
                                             ____________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE

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